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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
DAWN M. JOYNER,                                                :

                          Plaintiff,                         :           ORDER

        -against-                                            :
                                                                   20 Civ. 10093 (AT) (GWG)
                                                             :

ALSTON & BIRD LLP, et al.,                                   :

                           Defendants.                         :
---------------------------------------------------------------X

GABRIEL W. GORENSTEIN, UNITED STATES MAGISTRATE JUDGE

        On January 8, 2021, the Court issued an Order setting a briefing schedule on the pending

motion to dismiss. At the time the Court issued the Order, it was unaware that plaintiff had filed

an amended complaint (Docket # 14). In light of the filing of that complaint, the defendant's

pending motion to dismiss (Docket # 9) is deemed withdrawn. Any answer to the amended

complaint shall be filed by January 29, 2021. If defendant wishes to file a motion to dismiss in

lieu of answer, the pre-motion conference requirement is waived and the motion shall be filed on

or before January 29, 2021. Plaintiff shall file any response to the motion by February 19,

2021. Defendant shall file any reply by March 5, 2021.

        Plaintiff may file any response by email by sending it in pdf form to

Temporary_Pro_Se_Filing@nysd.uscourts.gov

        In the alternative, the response may be mailed to Pro Se Docketing, 500 Pearl Street,

New York, NY 10007.

        The Clerk is requested to mail a copy of this Order to plaintiff.



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      SO ORDERED.

Dated: January 11, 2021
       New York, New York
                                        ______________________________
                                        GABRIEL W. GORENSTEIN
                                        United States Magistrate Judge




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